             Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 1 of 155



                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                          EL PASO DIVISION

 INTEGRATED MAQUILA              SOLUTIONS, )
 L.L.C., D/B/A TECMA,                       )
                                            )
    Plaintiff/Counter Defendant,            )
                                            )
 v.                                         )             CIVIL ACTION NO. __________________
                                            )
 COMPASS ELECTRONICS SOLUTIONS, )
 LLC, D/B/A/ LOGIC PD, COMPASS GROUP )
 EQUITY PARTNERS, LLC, F/K/A LOGIC )
 PD, LOGIC PD, INC, and JOHN HUHN,          )
                                            )
    Defendants.                             )


          NOTICE OF REMOVAL OF ACTION BY COMPASS ELECTRONICS
  SOLUTIONS, LLC, COMPASS GROUP EQUITY PARTNERS, LLC, AND LOGIC PD, INC.


        Pursuant to 28 U.S.C. § 1332 and 1441, Compass Electronics Solutions, LLC, Compass

Group Equity Partners, LLC, and Logic PD, Inc. (“Defendants”) remove this action from the

346thth Judicial District Court of El Paso County, Texas to the United States District Court for the

Western District of Texas, El Paso Division, as follows:

                                       STATE COURT ACTION

        1.       On September 19, 2019, Plaintiff, Integrated Maquila Solutions, L.L.C., d/b/a

Tecma (“Plaintiff”) filed Plaintiff’s Original Petition (“Petition”) in the 346th Judicial District Court in

El Paso County, Texas, styled: Integrated Maquila Solutions, L.L.C., d/b/a Tecma v. Compass

Electronics Solutions, LLC, d/b/a Logic PD, Compass Group Equity Partners, LLC, f/k/a/ Logic

PD, Logic PD, Inc., and John Huhn, Cause No. 2019DCV3781 (the “State Court Action”).

        2.       In the State Court Action, Plaintiff alleged that Defendants breached the terms of

a Manufacturing Support Agreement and related documents, constituting breach of contract,

fraud, malpresentation, civil conspiracy, and unjust enrichment resulting in Plaintiff’s right to

recovery of damages, exemplary damages, and attorney’s fees.

DEFENDANTS’ NOTICE OF REMOVAL
Cause No. 2019DCV3781
Page 1 of 7
              Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 2 of 155



        3.       All Defendants were served with process of the Petition on September 27, 2019;

therefore, this Notice of Removal is timely under 28 U.S.C. §§ 1446(b)(1), 1446(b)(2)(B).

        4.       As established by their joinder herein, all Defendants consent to removal.

                                 PROCEDURAL REQUIREMENTS

        5.       This action is properly removed to this Court, as the State Court Action is pending

within this district and division. 28 U.S.C. § 1441; 28 U.S.C. § 124(d)(3).

        6.       The United States District Court for the Western District of Texas, El Paso Division

has original jurisdiction over this action based on diversity jurisdiction because all Defendants are

now, and were at the time this action commenced, diverse in citizenship from Plaintiff, and the

amount in controversy exceeds the minimum jurisdictional amount. See 28 U.S.C. §§ 1331

and 1332(a).

        7.       Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit A is a true and

correct copy of the entire file of record in the State Court Action.

        8.       Simultaneously with the filing of this Notice of Removal, Defendants are filing a

copy of the Notice of Removal in the 346th Judicial District Court of El Paso County, Texas

pursuant to 28 U.S.C. § 1446(d).

                         BASIS OF REMOVAL – DIVERSITY JURISDICTION

        9.       Where there is complete diversity among the parties and the amount in controversy

exceeds $75,000, exclusive of interest and costs, an action may be removed to federal court. See

28 U.S.C. §§ 1332(a), 1441(a). Complete diversity exists in this case because Plaintiff is not a

citizen of the same state as any Defendant. Additionally, this action involves an amount in

controversy that exceeds $75,000, exclusive of interest and costs.

        A. THERE IS COMPLETE DIVERSITY AMONG THE PARTIES

        10.      Plaintiff is a domestic limited liability company, organized under the laws of the

State of Texas, with is principal office located in El Paso County, thus Plaintiff is a Texas citizen.

See Petition at p. 1.
DEFENDANTS’ NOTICE OF REMOVAL
Cause No. 2019DCV3781
Page 2 of 7
              Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 3 of 155



        11.      Defendant, Compass Electronics Solutions, LLC is a Missouri limited liability

company, with its principal office located at 7701 Forsyth, Suit 850, St. Louis, MO 63105, and no

office located within the State of Texas; therefore, Compass Electronics Solutions, LLC is a citizen

of the State of Missouri for diversity purposes. See Petition at p. 2; see, also, Hertz Corp. v. Friend,

559 U.S. 77, 130 S.Ct. 1181, 175 L.Ed.2d 1029 (2010) (“a corporation shall be deemed to be a

citizen of any State by which it has been incorporated and of the State where it has its principal

place of business.” 28 U.S.C. § 1332(c)(1)).

        12.      Defendant, Compass Group Equity Partners, LLC is a Missouri limited liability

company, with its principal office located at 7701 Forsyth, Suit 850, St. Louis, MO 63105, and no

office located within the State of Texas; therefore, Compass Group Equity Partners, LLC is a

citizen of the State of Missouri for diversity purposes. See Petition at p. 2; see, also, Hertz Corp.

559 U.S. 77; 28 U.S.C. § 1332(c)(1)).

        13.      Defendant, Logic PD, Inc. is a Minnesota corporation, with its principal office

located 6201 Bury Drive, Eden Prairie, NM 55346; therefore, Logic PD, Inc. is a citizen of the

State of Minnesota for diversity purposes. See Petition at Exhibits A and B; see, also, see, also,

Hertz Corp. 559 U.S. 77; 28 U.S.C. § 1332(c)(1)).

        14.      Defendant, John Huhn, a resident of St. Louis, Missouri, is a natural person who

resides at 132 Frontenac First, St. Louis, MO 63131; therefore, his citizenship, for diversity

purposes, is determined by “where [he is] domiciled, that is, where [he has] a fixed residence with

the intent to remain there indefinitely.” Margetis v. Ray, No. 3:08-CV-958-L, 2009 WL 464962,

at *3 (N.D. Tex. Feb. 25, 2009) (citing Freeman v. Northwest Acceptance Corp., 754 F.2d 553,

555-56 (5th Cir. 1985)). See Petition at p. 2.

        15.      Because Plaintiff is a citizen of Texas while all Defendants are citizens of foreign

states, there is complete diversity among the parties. See 28 U.S.C. § 1332(c)(1).




DEFENDANTS’ NOTICE OF REMOVAL
Cause No. 2019DCV3781
Page 3 of 7
              Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 4 of 155



        B. AMOUNT IN CONTROVERSY EXCEEDS $75,000

        16.      Where there is complete diversity among parties, and where the amount in

controversy exceeds $75,000, exclusive of interest and costs, an action may be removed to

federal court. See 28 U.S.C. § 1332(a).

        17.      Where a defendant can show, by a preponderance of the evidence, that the

amount in controversy is greater than the minimum jurisdictional amount, removal is proper. See

White v. FCI U.S.A., Inc., 319 F.3d 672, 675 (5th Cir. 2003) (affirming district court’s conclusion

that it was “more probable than not” that damages were over $75,000 where the total amount

of relief was not stated in the petition); see also St. Paul Reins. Co. v. Greenberg, 134 F.3d 1250,

1253 n.13 (5th Cir. 1998) (“The test is whether it is more likely than not that the amount of the

claim will exceed [the jurisdictional minimum].”); Berry v. Chase Home Fin., LLC, No. C-09-116,

2009 WL 2868224, at *2 (S.D. Tex. Aug. 27, 2009).

        18.      “In actions seeking declaratory or injunctive relief, it is well established that the

amount in controversy is measured by the value of the object of the litigation.” Farkas v. GMAC

Mortg., LLC, 737 F.3d 338, 341 (5th Cir. 2013) (quoting Hunt v. Wash. State Apple Adver.

Comm’n, 432 U.S. 333, 347 (1977)); Martinez v. BAC Home Loans Servicing, 777 F. Supp. 2d

1039, 1044 (W.D. Tex. 2010). Moreover, it is well settled law that a removing defendant bears the

burden of establishing the amount in controversy rises to a level to support complete diversity,

which may be established by a plaintiff’s contentions, interrogatories, or admissions in the state

court. See Ullman v. Safeway Ins. Co., 995 F.Supp.2d 1196, 1215 (D.N.M. 2013). Based on the

prayer for relief and judicial admissions in its Petition, Plaintiff seeks relief of more than

$1,000,000; therefore, the amount in controversy rises to a level of support for complete diversity.

See Petition generally, and at pgs. 17 and 18.

        19.      Further, the Court may also consider actual damages, exemplary damages, and

attorney fees in determining the amount in controversy. See White, 319 F.3d at 675-76; St. Paul

Reins. Co., 134 F.3d at 1253 n.7; Rawlings v. Travelers Prop. Cas. Ins. Co., No. 3:07-CV-1608-
DEFENDANTS’ NOTICE OF REMOVAL
Cause No. 2019DCV3781
Page 4 of 7
              Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 5 of 155



O, 2008 WL 2115606, at **8-9 (N.D. Tex. May 20, 2008) (considering Plaintiffs’ request for

exemplary damages and potential recovery pursuant to Texas Civil Practice and Remedies Code

§ 41.003, and finding that the amount in controversy “more likely than not” exceeded $75,000);

Grant v. Chevron Phillips Chemical Co. L.P., 309 F.3d 864, 874 (5th Cir. 2002) (“[W]e hold that

when there is state statutory authority for the court to award attorney’s fees … such fees may be

included in the amount in controversy.”); Ray Mart, Inc. v. Stock Building Supply of Texas, L.P.,

435 F. Supp. 2d 578, 588 (E.D. Tex. 2006) (including potential award of attorney fees in

calculating the amount in controversy).

        20.      In this case, the amount in controversy is readily apparent on the face of the

Petition in demand of damages, inter alia, in excess of $1,000,000. See Petition generally, and at

p. 18. Thus, it is clear that the amount in controversy greatly exceeds the $75,000 jurisdictional

minimum.

        21.      Because there is complete diversity between the parties and the amount in

controversy requirement is satisfied, this Court has jurisdiction pursuant to 28 U.S.C. § 1332, and

removal is proper.

        WHEREFORE, Defendants remove this action from the 346th Judicial District Court of El

Paso County, Texas to the United States District Court for the Western District of Texas, El Paso

Division, so that this Court may assume jurisdiction over the cause as provided by law.




DEFENDANTS’ NOTICE OF REMOVAL
Cause No. 2019DCV3781
Page 5 of 7
             Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 6 of 155



                                       Respectfully submitted,

                                       FirthtBunntKerrtNeill
                                       311 Montana Ave., Law Center
                                       El Paso, Texas 79902
                                       Telephone: 915-532-7500
                                       Facsimile: 915-532-7503



                                       By: _____________________________________
                                              Edward DeV. Bunn, Jr.
                                              State Bar No. 24048372
                                              EBunn@FBKNlaw.com
                                              ATTORNEYS FOR LOGIC PD, INC. AND
                                              COMPASS ELECTRONICS SOLUTIONS, LLC
                                                              -AND-
                                       BLANCO ORDOÑEZ MATA
                                       & WECHSLER, P.C.
                                       5715 Cromo Drive
                                       El Paso, Texas 79912
                                       (915) 845-5800 (Telephone)
                                       (915) 845-5555 (Facsimile)
                                       dordonez@bomwlaw.com


                                       BY: authorized via email on 10.21.2019
                                              Daniel Ordoñez
                                              State Bar No. 24073271

                                              ATTORNEYS FOR
                                              COMPASS GROUP EQUITY PARTNERS, LLC




DEFENDANTS’ NOTICE OF REMOVAL
Cause No. 2019DCV3781
Page 6 of 7
             Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 7 of 155



                                CERTIFICATE OF ELECTRONIC SERVICE

       I hereby certify that on this the 22nd day of October 2019, a true and correct copy of the
foregoing document was electronically served, by filing with the Court with service requested
thereby, on all attorneys and parties identified with the Court for electronic service on record in
this matter, and specifically to:

        a) Plaintiff, Integrated Maquila Solutions, L.L.C., d/b/a Tecma, by and through its
           attorneys of record, Victor F. Poulos and Andrew J. Cavazos, Poulos & Coates,
           L.L.P., 1802 Avenida de Mesilla, Las Cruces, New Mexico 88005, via email to:
           victor@pouloscoates.com.

        b) Defendant, John Huhn, by and through his attorneys of record, Corey W. Haugland
           and Jamie T. Wall, James & Haugland, P.C., 609 Montana Ave., El Paso, Texas
           79902, via email to: chaugland@jghpc.com; and jwall@jghpc.com.




                                             _________________________________________
                                             Edward DeV. Bunn, Jr.




DEFENDANTS’ NOTICE OF REMOVAL
Cause No. 2019DCV3781
Page 7 of 7
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 8 of 155




                 EXHIBIT A
                            Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 9 of 155                                          10/22/19, 9:39 AM



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                                                          REGISTER OF ACTIONS
                                                             CASE NO. 2019DCV3781

Integrated Maquila Solutions, L.L.C. d/b/a Tecma VS Compass                §                      Case Type: Other Contract
Electronics Solutions, LLC d/b/a Logic PD, Compass Group Equity            §                      Date Filed: 09/19/2019
Partners, LLC f/k/a LogicPD, Inc., Logic PD, Inc. and John Huhn            §                       Location: 346th District Court
                                                                           §
                                                                           §

                                                                 PARTY INFORMATION

                                                                                                                   Lead Attorneys
Counter        Integrated Maquila Solutions, L.L.C. Doing                                                          VICTOR F POULOS
Defendant      Business As Tecma                                                                                    Retained
                                                                                                                   575-523-4444(W)


Counter        Logic PD, Inc.                                                                                      EDWARD DeV BUNN, Jr.
Plaintiff                                                                                                           Retained
                                                                                                                   915-532-7500(W)


Defendant      Compass Electronics Solutions,                                                                      EDWARD DeV BUNN, Jr.
               LLC Doing Business As Logic PD                                                                       Retained
                                                                                                                   915-532-7500(W)


Defendant      Compass Group Equity Partners,
               LLC Formerly Known As LogicPD, Inc.


Defendant      John Huhn


Defendant      Logic PD, Inc.                                                                                      EDWARD DeV BUNN, Jr.
                                                                                                                    Retained
                                                                                                                   915-532-7500(W)


Plaintiff      Integrated Maquila Solutions, L.L.C. Doing                                                          VICTOR F POULOS
               Business As Tecma                                                                                    Retained
                                                                                                                   575-523-4444(W)

                                                            EVENTS & ORDERS OF THE COURT

             OTHER EVENTS AND HEARINGS
09/19/2019   Original Petition (OCA)      Doc ID# 1
09/19/2019   E-File Event Original Filing
09/23/2019   Request      Doc ID# 2
09/23/2019   Request      Doc ID# 3
09/23/2019   Request      Doc ID# 4
09/23/2019   Request      Doc ID# 5
09/23/2019   Jury Demand        Doc ID# 6
09/25/2019   Citation
                Compass Electronics Solutions, LLC                 Unserved
                Compass Group Equity Partners, LLC                 Unserved Response Received 10/21/2019
                John Huhn                                          Unserved
                Logic PD, Inc.                                     Unserved Response Received 10/21/2019
10/18/2019   Special Appearance        Doc ID# 7
10/21/2019   Special Appearance        Doc ID# 8
10/21/2019   Answer      Doc ID# 10
10/21/2019   Special Appearance        Doc ID# 11
10/21/2019   Counter Claim       Doc ID# 14
10/21/2019   Answer      Doc ID# 12
10/21/2019   Answer      Doc ID# 13
12/11/2019   Scheduling Conference (9:15 AM) (Judicial Officers Barill, Angie Juarez, Barill, Angie Juarez)




https://casesearch.epcounty.com/securedpa/CaseDetail.aspx?CaseID=8324190                                                               Page 1 of 1
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Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 11 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 12 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 13 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 14 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 15 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 16 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 17 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 18 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 19 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 20 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 21 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 22 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 23 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 24 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 25 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 26 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 27 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 28 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 29 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 30 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 31 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 32 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 33 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 34 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 35 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 36 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 37 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 38 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 39 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 40 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 41 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 42 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 43 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 44 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 45 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 46 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 47 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 48 of 155
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Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 50 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 51 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 52 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 53 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 54 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 55 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 56 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 57 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 58 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 59 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 60 of 155
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Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 67 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 68 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 69 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 70 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 71 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 72 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 73 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 74 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 75 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 76 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 77 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 78 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 79 of 155
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          VICTOR F. POULOS, J.D.+                                                                   1802 AVENIDA DE MESILLA
          GREIG W. COATES, M.D., J.D.*                                                                   LAS CRUCES, NM 88005

          TAMMY DIAZ, PARALEGAL                                                                            228 GRIFFIN STREET
          TINA GONZALES, PARALEGAL                                                                         SANTA FE, NM 87501

          _____________________________                                                             MAIL ADDRESS
                                                                                                    1802 AVENIDA DE MESILLA
          +ADMITTED IN TEXAS & NEW MEXICO                                                                LAS CRUCES, NM 88005
          +BOARD CERTIFIED PERSONAL INJURY TRIAL LAW                                                              (575) 523-4444
           TEXAS BOARD OF LEGAL SPECIALIZATION                                                               FAX: (575) 523-4440
          *ADMITTED IN NEW MEXICO                                                                             1 888 478-5424
                                                                                                        POULOSCOATES.COM




                                                            September 23, 2019


        RE: 2019-DCV-3781; INTEGRATED MAQUILA SOLUTIONS, L.L.C. D/B/A TECMA VS.
        COMPASS ELECTRONICS SOLUTIONS, LLC D/B/A LOGIC PD, ET AL



        To Whom It May Concern,

                  Please issue a citation to Compass Electronics Solutions, LLC d/b/a Logic PD at Affinity

        Registered Agent and Trust Services, Inc., 1610 Des Peres Road, Suite 100 St. Louis, MO 63131. Please

        make all necessary copies and notify me when they are ready for pick up. A PDF format copy of

        Plaintiff’s Original Petition is attached to this envelope for your records.



                                                                           Sincerely,
                                                                           Poulos & Coates, LLP


                                                                           /s/ Tammy Diaz
                                                                           Tammy Diaz, Paralegal
El Paso County - 346th District
                         Case   Court
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          GREIG W. COATES, M.D., J.D.*                                                                   LAS CRUCES, NM 88005

          TAMMY DIAZ, PARALEGAL                                                                            228 GRIFFIN STREET
          TINA GONZALES, PARALEGAL                                                                         SANTA FE, NM 87501

          _____________________________                                                             MAIL ADDRESS
                                                                                                    1802 AVENIDA DE MESILLA
          +ADMITTED IN TEXAS & NEW MEXICO                                                                LAS CRUCES, NM 88005
          +BOARD CERTIFIED PERSONAL INJURY TRIAL LAW                                                              (575) 523-4444
           TEXAS BOARD OF LEGAL SPECIALIZATION                                                               FAX: (575) 523-4440
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                                                            September 23, 2019


        RE: 2019-DCV-3781; INTEGRATED MAQUILA SOLUTIONS, L.L.C. D/B/A TECMA VS.
        COMPASS ELECTRONICS SOLUTIONS, LLC D/B/A LOGIC PD, ET AL



        To Whom It May Concern,

                  Please issue a citation to Compass Group Equity Partners, LLC at Affinity Registered Agent

        and Trust Services, Inc., 1610 Des Peres Road, Suite 100 St. Louis, MO 63131. Please make all

        necessary copies and notify me when they are ready for pick up. A PDF format copy of Plaintiff’s

        Original Petition is attached to this envelope for your records.



                                                                           Sincerely,
                                                                           Poulos & Coates, LLP


                                                                           /s/ Tammy Diaz
                                                                           Tammy Diaz, Paralegal
El Paso County - 346th District
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          GREIG W. COATES, M.D., J.D.*                                                                     LAS CRUCES, NM 88005

          TAMMY DIAZ, PARALEGAL                                                                              228 GRIFFIN STREET
          TINA GONZALES, PARALEGAL                                                                           SANTA FE, NM 87501

          _____________________________                                                              MAIL ADDRESS
                                                                                                      1802 AVENIDA DE MESILLA
          +ADMITTED IN TEXAS & NEW MEXICO                                                                  LAS CRUCES, NM 88005
          +BOARD CERTIFIED PERSONAL INJURY TRIAL LAW                                                                (575) 523-4444
           TEXAS BOARD OF LEGAL SPECIALIZATION                                                                 FAX: (575) 523-4440
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                                                            September 23, 2019


        RE: 2019-DCV-3781; INTEGRATED MAQUILA SOLUTIONS, L.L.C. D/B/A TECMA VS.
        COMPASS ELECTRONICS SOLUTIONS, LLC D/B/A LOGIC PD, ET AL



        To Whom It May Concern,

                  Please issue a citation to Logic PD, Inc. at Affinity Registered Agent and Trust Services, Inc.,

        1610 Des Peres Road, Suite 100 St. Louis, MO 63131. Please make all necessary copies and notify me

        when they are ready for pick up. A PDF format copy of Plaintiff’s Original Petition is attached to this

        envelope for your records.



                                                                           Sincerely,
                                                                           Poulos & Coates, LLP


                                                                           /s/ Tammy Diaz
                                                                           Tammy Diaz, Paralegal
El Paso County - 346th District
                         Case   Court
                                 3:19-cv-00305                                              Filed
                                                          Document 1 Filed 10/22/19 Page 83 of 1559/23/2019 11:00 AM
                                                                                                      Norma Favela Barceleau
                                                                                                                 District Clerk
                                                       POULOS & COATES LLP                                    El Paso County
                                                   T   R I A L   A T T O   R N E Y S                          2019DCV3781
                                                                                                       OFFICES
          VICTOR F. POULOS, J.D.+                                                                   1802 AVENIDA DE MESILLA
          GREIG W. COATES, M.D., J.D.*                                                                   LAS CRUCES, NM 88005

          TAMMY DIAZ, PARALEGAL                                                                            228 GRIFFIN STREET
          TINA GONZALES, PARALEGAL                                                                         SANTA FE, NM 87501

          _____________________________                                                             MAIL ADDRESS
                                                                                                    1802 AVENIDA DE MESILLA
          +ADMITTED IN TEXAS & NEW MEXICO                                                                LAS CRUCES, NM 88005
          +BOARD CERTIFIED PERSONAL INJURY TRIAL LAW                                                              (575) 523-4444
           TEXAS BOARD OF LEGAL SPECIALIZATION                                                               FAX: (575) 523-4440
          *ADMITTED IN NEW MEXICO                                                                             1 888 478-5424
                                                                                                        POULOSCOATES.COM




                                                            September 23, 2019


        RE: 2019-DCV-3781; INTEGRATED MAQUILA SOLUTIONS, L.L.C. D/B/A TECMA VS.
        COMPASS ELECTRONICS SOLUTIONS, LLC D/B/A LOGIC PD, ET AL



        To Whom It May Concern,

                  Please issue a citation to John Huhn at 132 Frontenac First, Saint Louis, MO 63131-3220. Please

        make all necessary copies and notify me when they are ready for pick up. A PDF format copy of

        Plaintiff’s Original Petition is attached to this envelope for your records.



                                                                           Sincerely,
                                                                           Poulos & Coates, LLP


                                                                           /s/ Tammy Diaz
                                                                           Tammy Diaz, Paralegal
El Paso County - 346th District
                         Case   Court
                                 3:19-cv-00305                                     Filed
                                                 Document 1 Filed 10/22/19 Page 84 of 1559/23/2019 11:50 AM
                                                                                                   Norma Favela Barceleau
                                                                                                              District Clerk
                                                                                                           El Paso County
                                                                                                           2019DCV3781
                                       IN THE 346TH JUDICIAL DISTRICT COURT
                                              EL PASO COUNTY, TEXAS

             INTEGRATED MAQUILA SOLUTIONS,      §
             L.L.C. D/B/A TECMA,                §
                                                §
             Plaintiff,                         §
                                                §
             VS.                                § CAUSE NO.: 2019-DCV-3781
                                                §
             COMPASS ELECTRONICS SOLUTIONS, §
             LLC D/B/A LOGIC PD, COMPASS GROUP §
             EQUITY PARTNERS, LLC F/K/A LOGIC §
             PD, INC., LOGIC PD, INC., and JOHN §
             HUHN                               §
                                                §
             Defendants.                        §


                                                    JURY DEMAND

                    On the 23rd day of September, 2019, the Plaintiff, has demanded a jury, it is hereby

            ordered that the above-styled and numbered cause be placed upon the jury docket on payment of

            the jury fee herein.



                                                          Respectfully Submitted:

                                                                /s/ Victor Poulos
                                                          By: _____________________________
                                                                VICTOR F. POULOS
                                                                State Bar No.: 16184700
                                                                ANDREW J. CAVAZOS
                                                                State Bar No.: 24095414

                                                                POULOS & COATES, L.L.P.
                                                                1802 Avenida de Mesilla
                                                                Las Cruces, NM 88005
                                                                PH: (575) 523-4444
                                                                FAX: (575) 523-4440
                                                                EMAIL: victor@pouloscoates.com
                                                                Attorneys for Plaintiff
El Paso County - 346th District
                         Case   Court
                                 3:19-cv-00305                                           Filed
                                                       Document 1 Filed 10/22/19 Page 85 of 15510/21/2019 9:57 AM
                                                                                                              Norma Favela Barceleau
                                                                                                                         District Clerk
                                                                                                                      El Paso County
                                                                                                                      2019DCV3781
                                  IN THE DISTRICT COURT OF EL PASO COUNTY, TEXAS
                                              THE 346th JUDICIAL DISTRICT

             INTEGRATED MAQUILA             SOLUTIONS, )
             L.L.C., D/B/A TECMA,                      )
                                                       )
                Plaintiff/Counter Defendant,           )
                                                       )
             v.                                        )                              Cause No. 2019DCV3781
                                                       )
             COMPASS ELECTRONICS SOLUTIONS, )
             LLC, D/B/A/ LOGIC PD, COMPASS GROUP )
             EQUITY PARTNERS, LLC, F/K/A LOGIC )
             PD, LOGIC PD, INC, and JOHN HUHN,         )
                                                       )
                Defendants,                            )
                                                       )
                                                       )
             LOGIC PD, INC.,                           )
                                                       )
                Counter Plaintiff,                     )
                                                       )
             v.                                        )
                                                       )
             INTEGRATED MAQUILA SOLUTIONS,             )
             L.L.C., D/B/A TECMA,                      )
                                                       )
                Counter Defendant.                     )

             ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.

            TO THE HONORABLE COURT:

                     Defendant/Counter Plaintiff, Logic PD, Inc. (“Logic”) files this Original Answer, Affirmative

            Defenses & Counterclaims to the Original Petition of Plaintiff, Integrated Maquila Solutions, L.L.C,

            d/b/a TECMA (“Tecma”), and would show the Court the following:

                                                          GENERAL DENIAL

                     1.       Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Logic generally denies

            each and every allegation in the Original Petition (the "Petition") filed by Tecma, as well as any

            and all amended or supplemental petitions, and demands strict proof thereof.




            ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
            Cause No. 2019DCV3781
            Page 1 of 13
              Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 86 of 155



                                 ENTITLEMENT TO ATTORNEY’S FEES

         2.       Logic seeks recovery of its attorney’s fees, costs, and expenses in this litigation.

Logic is entitled to recovery from Tecma the attorney’s fees, costs, and expenses that Logic

incurred, and will continue to incur, in enforcing its rights and remedies under the contractual

agreement made the subject of this lawsuit.1

                                          AFFIRMATIVE DEFENSES

         3.       In addition to its general denial, Logic asserts the following defenses without

conceding which party bears the burden of proof on such defenses:

         4.       Tecma failed to state a claim upon which relief can be granted, and therefore, each

of Tecma’s claims and causes of action should be dismissed.

         5.       Tecma’s claims are barred, in whole or in part, because Tecma has failed to allege

and prove all conditions precedent to recovery.

         6.       Tecma’s claims are barred, in whole or in part, by the doctrines of estoppel, quasi-

estoppel, waiver, unclean hands, laches, and/or other equitable doctrines.

         7.       Logic claims all offsets and credits available to it, which Tecma has failed to credit

to the account of Logic and to which Logic is duly and justly entitled.

         8.       Tecma is in the possession of production tools and equipment solely owned by

Logic (“Logic’s Equipment”), of which Logic has demanded return, but which demand has been

denied while Tecma fails to credit the value of Logic’s Equipment as an offset to any amount

claimed due by Logic, which amount is greater than any amount Tecma claims due from Logic.

         9.       Tecma’s claims are barred, in whole or in part, because Logic’s acts and/or

omissions were not the cause of Tecma’s damages, if any. Rather, Tecma’s damages, if any,

were proximately caused by the acts, omissions, or breaches of other persons and/or entities,



1
 A party may recover attorney’s fees when such recovery is provided for by statute or contract. See Holland
v. Wal-Mart Stores, Inc., S.W.3d 91, 95 (Tex. 1999); Travelers Indem. Co. of Conn. v. Mayfield, 923
S.W.2d 590, 593 (Tex. 1996).
ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 2 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 87 of 155



including Tecma itself, and the acts, omissions, or breaches were intervening and superseding

causes of Tecma’s damages, if any.

         10.      Tecma’s claims are barred, in whole or in part, because Tecma failed to mitigate

its damages, if any, as required by Texas law.

         11.      Tecma acknowledged and agreed Logic was a foreign corporation, domiciled in

the State of Minnesota, with its principal office located at 6201 Bury Drive, Eden Prairie, NM,

55346.

         12.      Logic is not liable for the acts, omissions, or conduct of other persons or entities

not authorized to act on its behalf; pleading further, and in the alternative, Logic is not liable for

the acts, omissions, or conduct of its agents who exceeded the scope of their authority.

         13.      Tecma’s breach of the Manufacturing Support Agreement excuses Logic’s

performance due to the strict language setting forth Tecma’s required performance despite

Logic’s alleged non-performance or asserted breach of the Manufacturing Support Agreement.

         14.      The specifically negotiated terms of the Manufacturing Support Agreement limit

Tecma’s total recovery to that sum identified by the invoices provided by Tecma to Logic in direct

response to Logic’s November 1, 2018 notice of termination, being the sum of $312,950.

         15.      Tecma’s claims may also be barred by additional defenses that may arise during

the course of this litigation, which defenses Logic reserves the right to assert.

                                                     PRAYER

         16.      WHEREFORE, PREMISES CONSIDERED, Logic asks the Court to enter

judgment that Tecma take nothing by its claims and award Logic all relief set forth herein, and all

other and further relief, at law or in equity, to which it may be entitled.

                                               COUNTERCLAIMS

                        PARTIES, SERVICE & DISCOVERY CONTROL PLAN

         17.      Logic is a foreign corporation, domesticated under the laws of the State of

Minnesota, with its principal office located at 6201 Bury Drive, Eden Prairie, MN 55346.
ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 3 of 13
                Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 88 of 155



          18.     Tecma, an El Paso County, Texas, domiciliary, may be served with process hereof

pursuant 21a Tex. R. Civ. P. as an existing party to this litigation.

          19.     Logic intends discovery to be conducted under Level 3, Tex. R. Civ. P. 190.4.

                                        JURISDICTION AND VENUE

          20.     The subject matter in controversy is within the jurisdictional limits of this Court, but

also within the jurisdictional limits of the United States District Court for the Western District of

Texas.

          21.     This Court and the United States District Court for the Western District of Texas

have personal jurisdiction over Tecma as it has submitted itself to whatever jurisdiction and venue

is ultimately employed by a Court of competent jurisdiction by its filing of its Original Petition

against Logic in this matter.

                                               RELIEF SOUGHT

          22.     Logic seeks monetary relief of over $1,000,000.00 and non-monetary relief

including damages of any kind, penalties, court costs, expenses, prejudgment interest, and

attorney fees, and for judgment for all the other relief to which Logic is entitled.2

                                                      FACTS

          23.     On April 17, 2015, Logic entered into a Manufacturing Support Agreement with

Tecma, under which Tecma would provide certain maquila support services in Mexico for Logic,

in exchange for monetary compensation (the “Contract”). 3 Under the Contract, Logic would

provide production tools, equipment, raw materials, scrap, information, packaging materials parts,

product intellectual property, and components (collectively, “Logic’s Property”) which Tecma

would utilize in Mexico to produce goods for Logic and ship those goods back to Logic in El Paso,

Texas.



2
    Tex. R. Civ. P. 47.
3
    See Exhibit A: Manufacturing Support Agreement.
ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 4 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 89 of 155



         24.      Under the terms of the Contract, Logic was afforded the right, without cause, to

terminate Tecma’s services if Logic decided to cease production of products in Mexico.4 Upon

such termination, Tecma was required to marshal Logic’s Equipment and deliver to Logic in El

Paso, Texas.5

         25.      At no time, under the terms of the Contract, did Tecma ever own or possess any

right of title to any of Logic’s Equipment.

         26.      On November 1, 2018, Logic notified Tecma of its intention to cease production of

goods in Ciudad Juárez, Chihuahua, Mexico; thereby, terminating the Contract pursuant to §

13.1(iv). As provided by the Contract, Logic was required to compensate Tecma a Transition

Fee6 of $1.50 per clock hour actually worked by Tecma during the transition period, as well as

compensate Tecma for all services timely and properly performed through the date of termination,

as well as all amounts owed for Tecma personal.

         27.      Pursuant to § 13.5 of the Contract, upon Logic’s notice of termination, Tecma was

to promptly prepare and tender to Logic invoices covering all amounts Tecma claimed due from

Logic in connection with the early termination of the Contract. Tecma prepared such invoices and

delivered them to Logic and good faith negotiations concerning settlement of the amounts claimed

due by Tecma ensued; however, following each discussion, the amounts demanded by Tecma

increased to a nonsensical point.

         28.      On May 17, 2019, Tecma delivered notice of default and termination of the

Contract to Logic. On June 27, 2019, Logic responded to Tecma’s demand identifying an accord

was reached on the sum due by Logic to Tecma; however, Tecma had breached that agreement

and failed to comply with its terms.



4
    § 13.1(iv), Manufacturing Support Agreement.
5
    § 13.6, Manufacturing Support Agreement.
6
    § 13.2, Manufacturing Support Agreement.
ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 5 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 90 of 155



         29.      On August 7, 2019, Tecma denied an accord was reached between Logic and

Tecma and demanded payment of $387,548.13 in damages.

         30.      It is noteworthy that nowhere in any of the demand letters and correspondence

from Tecma to Logic is a demand made upon Compass Electronics Solution, LLC (“CES”) for

payment of Logic’s alleged debt. Moreover, Nowhere in Tecma’s correspondence does it claim

CES breached the Contract.

         31.      Under the terms of the Contract, notwithstanding any dispute or argument of any

nature, or claimed debt, nothing provides Tecma the right to withhold Logic’s Equipment.

Notwithstanding demand, Tecma has failed and continues to fail to return Logic’s Equipment.

         32.      Beyond Tecma’s failure to return them, attempts by Logic were made in efforts to

retrieve Logic’s Equipment from Tecma, but such efforts were thwarted and blocked by Tecma’s

preventing access to the building containing Logic’s Equipment. Moreover, notwithstanding

Tecma’s preventing Logic’s access and removal of its Equipment, Tecma continued to charge

storage fees, rentals, and expenses for records audits. Tecma perpetrated a charade to keep the

costs increasing and not allow a final resolution of the relationship or re-let Logic’s former space

in an effort to continue to charge excess fees and mark-up costs for its additional profits, all to the

detriment of Logic.

         33.      Notwithstanding Texas law requires it to mitigate its damages, Tecma promised,

multiple times, it had obtained replacement tenants for the space previously utilized by Logic

under the Contract; however, on information and belief, Tecma demanded rentals from Logic

even after alleged tenants had occupied Logic’s space. Furthermore, Tecma had multiple

opportunities to re-lease Logic’s space; however, it did not use commercially reasonable efforts

to mitigate damages. The sole issue preventing Tecma from reletting Logic’s space was Tecma’s

own action in preventing Logic from removing Logic’s Equipment. Effectively, Tecma retook

Logic’s space, yet continued to charge and demand rent for Logic’s non-use of the space.



ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 6 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 91 of 155



         34.      On information and belief, Tecma negotiated a reduced severance package with

its workers who performed services under the Contract for Logic down to 50% of their expected

wages, yet Tecma demanded Logic compensate 100% of the wages. Logic is entitled to offsets

and credits for the amount of reduced employee severance packages procured by Tecma.

         35.      Additionally, Tecma was unjustly enriched for IVA (Mexico’s Value Added Tax)

(“VAT”) at the expense of Logic, which was obtained by Tecma from Logic’s products; however,

the Contract limits such recovery by Tecma to specific circumstances, which establish Tecma

fraudulently obtained a windfall of $131,844.05 in VAT, which sum belongs to Logic as tax

specifically related to products produced by Logic under the Contract.

         36.      All conditions necessary and precedent to the filing of this counterclaim have

occurred.

                           CAUSE OF ACTION—BREACH OF CONTRACTS

         37.      As required by the terms of the Contract, upon Logic’s notice of termination, Tecma

was required to marshal and deliver Logic’s Equipment to Logic. Demand was made upon Tecma

for the return of Logic’s Equipment; however, Tecma failed to adhere to its covenant, continuing

to hold Logic’s Equipment for ransom. Tecma’s actions in failing to abide by its covenant in the

Contract constitutes breach of the Contract for which Logic hereby seeks recovery of actual

damages. The value sought by Logic for Logic’s Equipment stemming from Tecma’s breach of

the Contract is the current reasonable value of Logic’s Equipment totaling $771,084.59.

         38.      As set forth above, subsequent to Logic’s termination of the Contract pursuant to

§ 13.1(iv), an oral accord was reached between Logic and Tecma for payment of the amounts

due under the Contract identified by Tecma’s delivery of invoices pursuant to § 13.5. The accord

was for Logic’s delivery of payment to Tecma in settlement of all sums claimed due under the

Contract. In compliance with that accord, Logic began delivering weekly payments of $20,000 to

Tecma in exchange for Tecma’s release of Logic’s Equipment; however, subsequent to the

accord, Tecma repudiated the terms and demanded additional damages and charges be paid,
ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 7 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 92 of 155



while preventing Logic from obtaining its Equipment. Tecma’s accord and repudiation thereof

constitutes breach of contract for which Logic is entitled to offset and credit for all sum paid

thereunder and enforcement thereof, and recovery of attorney’s fees.

                                   CAUSE OF ACTION—CONVERSION

         39.      As required by the terms of the Contract, upon Logic’s notice of termination, Tecma

was required to marshal and deliver Logic’s Equipment to Logic. It is without question, as stated

in the Contract, Logic’s Equipment belong solely to Logic, with Logic possessing absolute

ownership and rights to possess Logic’s Equipment. After Tecma rejected Logic’s demand for

return of Logic’s Equipment, Tecma assumed and exercised dominion and control over Logic’s

Equipment in an unauthorized and unlawful manner, to the absolute exclusion of Logic’s rights.

Tecma’s actions constitute conversion under Texas law.7 Logic seeks recovery from Tecma of

the reasonable market value, as of November 1, 2018, of Logic’s Equipment resulting from

Tecma’s conversion thereof, which Logic asserts is $771,084.59.

                          CAUSE OF ACTION—DECLARATORY JUDGMENT

         40.      Under Chapter 37 of the Texas Civil Practice & Remedies Code, Logic (as Counter

Plaintiff) sues Tecma (as Counter Defendant) and seeks a declaratory judgment as set forth

herein. A dispute has arisen concerning a written and executed instrument between Logic and

Tecma, under which Logic seeks this Court’s determination of rights and remedies. Therefore,

pursuant to § 37.004 Tex. Civ. Prac. & Rem. Code, Logic seeks a declaratory judgment and would

show the Court as follows:

         41.      The terms of § 13.6 of the Contract state that no matter the nature of dispute

between Tecma and Logic, Tecma will return Logic’s Equipment upon request. Logic made such

a request and Tecma has failed to comply with its covenant.

         42.      The terms of § 13.5 of the Contract state Tecma will, upon termination by Logic,



7
    Huffmeyer v. Mann, 49 S.W.3d 554, 558 (Tex. App.-Corpus Christi 2001, no pet.).
ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 8 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 93 of 155



promptly provide invoices covering “all” amounts Logic is obligated to pay Tecma for Logic’s early

termination of the Contract.

         43.      Upon Logic’s notice of termination, Tecma submitted invoices to Logic for

payment. Discussions thereafter ensued concerning the amounts owed, followed by Tecma

increasing the claimed amount subsequent to each discussion. Under the terms of the Contract,

Tecma is obligated, limited, bound, and constrained by its negotiated agreement in § 13.5 of the

Contract to adhere to the amount invoiced pursuant to that Section. It is clearly outside the scope

of the negotiated terms of the Contract for Tecma to hold Logic’s Equipment for ransom, provide

an accounting of “all” sums claimed due, only to later demand additional sums, with notice that

such sums accrue and increase on a daily basis.

         44.      Therefore, Logic seeks this Court’s declaration of rights under the Contract that:

                  a. Logic’s termination of the Contract was a negotiated right thereunder;

                  b. Logic’s termination complied with its rights under the Contract;

                  c. Tecma’s delivery to Logic of invoices in response to Logic’s notice of
                     termination of the Contract limits Tecma’s recovery by the specific language
                     set forth in § 13.5 of the Contract, to that amount identified by those invoices
                     initially delivered to Logic, resulting in a maximum recovery cap of $312,950;

                  d. Tecma’s failure to deliver Logic’s Equipment, after demand, resulted in
                     Tecma’s breach of the Contract causing actual damage to Logic totaling
                     $771,084.59; and

                  e. As a result of Tecma’s breach of the Contract, Logic is entitled to recovery of
                     the value of Logic’s Equipment as of November 1, 2018, totaling $771,084.59;

                  f.   Logic is entitled to a credit and offset of $20,000 per week for every payment
                       delivered to Tecma under the terms of the oral agreement settling the debt
                       which has now been made the subject of Tecma’s causes of action.

                       ATTORNEY’S FEES FOR DECLARATORY JUDGMENT

         45.      Pursuant to Chapter 37 Tex. Civ. Prac. & Rem Code, as a result of Tecma’s breach

of the Contract and Logic being forced to seek this Court’s declaration of rights thereunder, Logic


ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 9 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 94 of 155



is entitled to recovery of reasonable and necessary attorney’s fees.

                             CAUSE OF ACTION—COMMON LAW FRAUD

         46.      As required by Texas law, to establish Tecma’s common law fraud, Logic will show

the trier of fact that (1) Tecma made material representations that were false by demanding and

increasing rents, fees, costs, damages, and expenses in exchange for the return of Logic’s

Equipment while preventing Logic from possessing its Equipment after demand, and retaining

VAT to which Tecma was not entitled, (2) Tecma knew Logic was entitled to possession of its

Equipment, and demands for payment in exchange therefor were falsely made as positive

assertions of fact along with false receipts and statements concerning VAT, (3) Tecma intended

to induce Logic to act upon the representations and pay costs, expenses, fees, and damages to

which Tecma was not entitled and force Logic to pay which was done by holding Logic’s

Equipment for ransom retaining VAT to which Tecma was not entitled, and (4) Logic actually and

justifiably relied on the representations, which caused injury by payment to Tecma of monies in

reliance on negotiated settlement of all costs identified by § 13.5 of the Contract and the loss of

use of its Equipment, while Tecma retained VAT totaling $131,844.05.8 For Tecma’s fraud, Logic

alleges its damages total, at a minimum, $771,084.59 for the loss of Logic’s Equipment,

$131,844.05 for Tecma’s ill-gotten windfall in VAT, and the value of Tecma’s receipt of the

difference between the reduce severance packages with employees and that amount demanded

by Tecma for Logic’s payment of 100% of those packages.

                                           EXEMPLARY DAMAGES

         47.      As a result of Tecma’s conduct, Logic is entitled to Exemplary Damages by

Chapter 41 Tex. Civ. Prac. & Rem. Code. Logic claims two times the sum of actual damages

found by the tier of fact, which Logic asserts should be at least $1,805,725.28 ($771,084.59 +

$131,844.05), plus an amount not to exceed $750,000.


8
    Ernst & Young, L.L.P. v. Pac. Mut. Life Ins. Co., 51 S.W.3d 573, 577 (Tex. 2001).

ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 10 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 95 of 155



                         CAUSE OF ACTION—TEXAS THEFT LIABILITY ACT

         48.      Tecma’s conduct in preventing Logic’s access to Logic’s Goods violates the Texas

Theft Liability Act and caused damage to Logic totaling $771,084.59. Based on Tecma’s conduct,

Logic is entitled to recover punitive damages and its reasonable and necessary attorney’s fees.

The Texas Theft Liability Act provides recovery of attorney’s fees to the prevailing party; therefore,

Logic seeks award of reasonable and necessary attorney’s fees under the Act from Tecma.9

           EXPERT DESIGNATION PURSUANT TO 194.2(f) and 195.2 TEX. R. CIV. P.

         49.      Pursuant to Rules 194.2(f) and 195.2 Texas Rules of Civil Procedure, Plaintiff

hereby designates the following individuals as expert witnesses for which résumés and/or

curricula vitae follow:

          EDWARD DEV. BUNN, JR., ESQ.                                     Resume may be found at
          FIRTHtBunntKerrtNeill                                           HTTP://www.FBKNLaw.com
          311 Montana Avenue, Law Center
          El Paso, Texas 79902                                            Edward DeV. Bunn, Jr. is an attorney licensed
          (915) 532-7500
                                                                          to practice law in the State of Texas, actively
                                                                          practicing in El Paso County, Texas, and will
                                                                          testify as to reasonable and necessary
                                                                          attorney’s fees.

          VICTOR M. FIRTH, ESQ.                                           Resume may be found at
          FIRTHtBunntKerrtNeill                                           HTTP://www.FBKNLaw.com
          311 Montana Avenue, Law Center
          El Paso, Texas 79902                                            Victor M. Firth is an attorney licensed to
          (915) 532-7500
                                                                          practice law in the State of Texas, actively
                                                                          practicing in El Paso County, Texas, and will
                                                                          testify as to reasonable and necessary
                                                                          attorney’s fees.

                               REQUESTS FOR DISCLOSURE TO TECMA

         50.      Pursuant to 194 Tex. R. Civ. P., Logic requests you disclose—within 30 days of

the service of this request—the information, or material described in Rule 194.2 Tex. R. Civ. P.




9
 Air Routing Int'l Corp. (Canada) v. Britannia Airways, Ltd., 150 S.W.3d 682, 686 (Tex. App.–
Houston [14th Dist.] 2004, no pet.); see also, Arrow Marble, LLC v. Estate of Killion, 441 S.W.3d
702, 706 (Tex. App.–Houston [1st Dist.] 2014, no pet.).
ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 11 of 13
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 96 of 155



         51.      WHEREFORE, Logic prays that upon final hearing hereof, Tecma take nothing

pursuant to its Original Petition or any subsequent amended or supplemental petition, and the

Court award Logic:

         A. The sum of $771,084.59 for Tecma’s breach of the Contract;

         B. The sum found by the trier of fact for Tecma’s breach of the oral accord reached for
            payment by Logic of $20,000 per week under the original invoices submitted for
            payment pursuant to § 13.5 of the Contract, resulting in a maximum recovery cap of
            $312,950; plus

         C. The sum of $771,084.59 for Tecma’s conversion of Logic’s Equipment;

         D. The sum of $771,084.59 for Tecma’s violation of the Texas Theft Liability Act., plus
            punitive damages provided for thereunder;

         E. The sums of $771,084.59 and $131,844.05 for Tecma’s common law fraud;

         F. The sum of two times the sum of actual damages found by the tier of fact, being
            $1,805,725.28, plus an amount not to exceed $750,000 as punitive damages;

         G. Declaratory Judgment that:

                  a. Tecma’s recovery from Logic is specifically limited by that precise sum initially
                     claimed due by its delivery of invoices covering “all” amounts due pursuant to
                     § 13.5 of the Contract promptly after Logic’s notice of termination of the
                     Contract, resulting in a maximum recovery cap of $312,950;

                  b. Logic’s termination of the Contract was a negotiated right thereunder, to which
                     Logic strictly complied;

                  c. Tecma’s failure to deliver Logic’s Equipment, after demand, resulted in
                     Tecma’s breach of the Contract, conversion, and/or violation of the Texas Theft
                     Liability Act entitling Logic to punitive damages;

                  d. As a result of Tecma’s breach of the Contract, conversion, and/or fraud, Logic
                     is entitled to recovery of the value of Logic’s Equipment as of November 1,
                     2018 and VAT, being the sum of $771,084.59 and $131,844.05; and

                  e. Logic is entitled to recovery of all reasonable and necessary attorney’s fees
                     incurred in this matter either for Tecma’s breach of contract pursuant to
                     Chapter 38 Tex. Civ. Prac. & Rem Code and/or Chapter 37 Tex. Civ. Prac. &
                     Rem Code.

ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 12 of 13
             Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 97 of 155




         H. All other and reasonable relief which Logic shows itself to be justly entitled, both

             special and general, at law or in equity.

                                                      Respectfully submitted,

                                                      FirthtBunntKerrtNeill
                                                      311 Montana Ave., Law Center
                                                      El Paso, Texas 79902
                                                      Telephone: 915-532-7500
                                                      Facsimile: 915-532-7503



                                                      By: _____________________________________
                                                            Edward DeV. Bunn, Jr.
                                                            State Bar No. 24048372
                                                            EBunn@FBKNlaw.com
                                                               ATTORNEYS FOR LOGIC PD, INC. AND
                                                               COMPASS ELECTRONICS SOLUTIONS, LLC

                               CERTIFICATE OF ELECTRONIC SERVICE

       I hereby certify that on this the 21st day of October 2019, a true and correct copy of the
foregoing document was electronically served, by filing with the Court with service requested
thereby, on all attorneys and parties identified with the Court for electronic service on record in
this matter, and specifically to:

         Victor F. Poulos and Andrew J. Cavazos, Poulos & Coates, L.L.P., 1802 Avenida de
         Mesilla, Las Cruces, New Mexico 88005, via email to: victor@pouloscoates.com.




                                                      _________________________________________
                                                      Edward DeV. Bunn, Jr.




ORIGINAL ANSWER, AFFIRMATIVE DEFENSES & COUNTERCLAIMS OF LOGIC PD, INC.
Cause No. 2019DCV3781
Page 13 of 13
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 98 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 99 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 100 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 101 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 102 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 103 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 104 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 105 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 106 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 107 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 108 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 109 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 110 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 111 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 112 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 113 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 114 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 115 of 155
El Paso County - 346th District
                        CaseCourt
                                3:19-cv-00305        Document 1 Filed 10/22/19 Page 116 Filed
                                                                                        of 15510/21/2019 9:59 AM
                                                                                                                    Norma Favela Barceleau
                                                                                                                               District Clerk
                                                                                                                            El Paso County
                                                                                                                            2019DCV3781
                                 IN THE DISTRICT COURT OF EL PASO COUNTY, TEXAS
                                             THE 346th JUDICIAL DISTRICT

             INTEGRATED MAQUILA SOLUTIONS,                           )
             L.L.C., D/B/A TECMA,                                    )
                                                                     )
                  Plaintiff,                                         )
                                                                     )
             v.                                                      )   Cause No. 2019DCV3781
                                                                     )
             COMPASS ELECTRONICS SOLUTIONS,                          )
             LLC, D/B/A/ LOGIC PD, COMPASS                           )
             GROUP EQUITY PARTNERS, LLC, F/K/A                       )
             LOGIC PD, LOGIC PD, INC, and JOHN                       )
             HUHN,                                                   )
                                                                     )
                  Defendants.                                        )

                           ORIGINAL ANSWER & AFFIRMATIVE DEFENSES, SUBJECT TO
                       SPECIAL APPEARANCE, OF COMPASS ELECTRONICS SOLUTIONS, LLC

            TO THE HONORABLE COURT:

                     Subject to 120a(1) Tex. R. Civ. P., Defendant, Compass Electronics Solutions, LLC

            (“CES”), without waving its Special Appearance, files this its Original Answer and Affirmative

            Defenses to the Original Petition of Integrated Maquila Solutions, L.L.C., d/b/a Tecma (“Tecma),

            and would show the Court the following:

                                                         GENERAL DENIAL

                     1.        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, CES generally

            denies each and every allegation in the Original Petition (the "Petition") filed by Tecma, as

            well as any and all amended or supplemental petitions, and demands strict proof thereof.

                                                     AFFIRMATIVE DEFENSES

                     2.        In addition to its general denial, CES asserts the following defenses without

            conceding which party bears the burden of proof on such defenses:

                     3.        CES has filed a Special Appearance objecting to this Court’s exercise of

            jurisdiction over CES—this Court does not possess personal jurisdiction over CES.



            ORIGINAL ANSWER & AFFIRMATIVE DEFENSES, SUBJECT TO SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
            Cause No. 2019DCV3781
            Page 1 of 3
             Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 117 of 155



        4.       Tecma failed to state a claim upon which relief can be granted, and therefore, each

of Tecma’s claims should be dismissed.

        5.       Tecma’s claims are barred, in whole or in part, because Tecma has failed to allege

and prove all conditions precedent to recovery.

        6.       Tecma’s claims are barred, in whole or in part, by the doctrines of unclean hands,

laches, and/or other equitable doctrines.

        7.       Tecma’s claims are barred, in whole or in part, because CES’ acts and/or

omissions were not the cause of Tecma’s damages, if any. Rather, Tecma’s damages, if any,

were proximately caused by the acts, omissions, or breaches of other persons and/or entities,

including Tecma itself, and the acts, omissions, or breaches were intervening and superseding

causes of Tecma’s damages, if any.

        8.       Tecma’s claims are barred, in whole or in part, because Tecma failed to mitigate

its damages, if any, as required by Texas law.

        9.       Tecma erroneously alleged, without factual background and support, that CES

owned, operated, and conducted business under a fictitious name of Logic PD, Inc., which even

if true, would not confer this Court’s jurisdiction over CES in this matter.

        10.      Tecma’s claims for attorney’s fees are barred as it failed to comply with § 38.002

Tex. R. Civ. P. by not timely providing notice of its claim for attorney’s fees and permitting CES

30 days to consider the claim prior to Tecma filing this lawsuit, and failing to provide CES with

notice of any just (proper) claim amount.

        11.      CES is not liable for the acts, omissions, or conduct of other persons or entities not

authorized to act on its behalf; pleading further, and in the alternative, CES is not liable for the

acts, omissions, or conduct of its agents who exceeded the scope of their authority.

        12.      Tecma’s claims may also be barred by additional defenses that may arise during

the course of this litigation, which defenses Logic reserves the right to assert.



ORIGINAL ANSWER & AFFIRMATIVE DEFENSES, SUBJECT TO SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 2 of 3
            Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 118 of 155



                                                    PRAYER

        13.        WHEREFORE, PREMISES CONSIDERED, CES asks the Court to enter judgment

that Tecma take nothing by its claims, dismiss all causes of action against CES, and award CES

all relief set forth herein, and all other and further relief, at law or in equity, to which it may be

justly entitled.

                                                     Respectfully submitted,

                                                     FirthtBunntKerrtNeill
                                                     311 Montana Ave., Law Center
                                                     El Paso, Texas 79902
                                                     Telephone: 915-532-7500
                                                     Facsimile: 915-532-7503



                                                     By: _____________________________________
                                                           Edward DeV. Bunn, Jr.
                                                           State Bar No. 24048372
                                                           EBunn@FBKNlaw.com
                                                              ATTORNEYS FOR LOGIC PD, INC. AND
                                                              COMPASS ELECTRONICS SOLUTIONS, LLC

                               CERTIFICATE OF ELECTRONIC SERVICE

       I hereby certify that on this the 21st day of October 2019, a true and correct copy of the
foregoing document was electronically served, by filing with the Court with service requested
thereby, on all attorneys and parties identified with the Court for electronic service on record in
this matter, and specifically to:

        Victor F. Poulos and Andrew J. Cavazos, Poulos & Coates, L.L.P., 1802 Avenida de
        Mesilla, Las Cruces, New Mexico 88005, via email to: victor@pouloscoates.com.




                                                     _________________________________________
                                                     Edward DeV. Bunn, Jr.




ORIGINAL ANSWER & AFFIRMATIVE DEFENSES, SUBJECT TO SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 3 of 3
El Paso County - 346th District
                        CaseCourt
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                                                                                        of 15510/21/2019 6:59 AM
                                                                                                        Norma Favela Barceleau
                                                                                                                   District Clerk
                                                                                                                El Paso County
                                                                                                                2019DCV3781
                                 IN THE DISTRICT COURT OF EL PASO COUNTY, TEXAS
                                             THE 346th JUDICIAL DISTRICT

            INTEGRATED MAQUILA SOLUTIONS,                          )
            L.L.C., D/B/A TECMA,                                   )
                                                                   )
                 Plaintiff,                                        )
                                                                   )
            v.                                                     )   Cause No. 2019DCV3781
                                                                   )
            COMPASS ELECTRONICS SOLUTIONS,                         )
            LLC, D/B/A LOGIC PD, COMPASS GROUP                     )
            EQUITY PARTNERS, LLC, F/K/A LOGIC                      )
            PD, LOGIC PD, INC., and JOHN HUHN,                     )
                                                                   )
                 Defendants.                                       )
                                                                   )

                        SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC

            TO THE HONORABLE COURT:

                      Pursuant to 120a Tex. R. Civ. P., Defendant, Compass Electronics Solutions, LLC

            (“CES”), prior to filing any answer or other responsive pleading herein, files this Special

            Appearance for the purpose of objecting to this Court’s personal jurisdiction over CES, and

            would show the Court the following:

                                                                FACTS

                      1.      Plaintiff, Integrated Maquila Solutions, L.L.C., d/b/a Tecma (“Tecma”), without

            reasonable fact or circumstance to support such allegation, asserted in its Original Petition that

            Compass Group Equity Partners, LLC purchased all or substantially all of the assets of Logic

            PD, Inc., a Minnesota domiciled corporation (“Logic”), and Logic was rebranded and

            repackaged under the guise of CES, a completely different limited liability company domiciled in

            Missouri. This allegation is patently false, unsubstantiated and made solely to force a non-

            interested party into this litigation, resulting in hardship and financial strain on CES.

                      2.      Tecma’s causes of action and allegations against CES are ill rooted in privity of




            SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
            Cause No. 2019DCV3781
            Page 1 of 9
              Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 120 of 155



contract solely between Tecma and Logic, and none other.1 Other than unsupported allegations

that CES conducts business as Logic, Tecma has pleaded no facts to support any action,

inaction, or conduct on the part of CES which would confer this Court’s jurisdiction over CES in

this matter.

         3.      At no time has CES conducted business in the State of Texas under the factious

names of Logic PD or Logic PD, Inc., nor maintained any principal office in the State of Texas,

much less conducted any activity giving rise to minimum contacts with this State concerning any

matter even tangentially related to Logic’s business operations or Tecmas pleaded allegations.

         4.      CES is not a party to any contractual agreement with Tecma. CES has never

maintained a principal office in El Paso, Texas—its principal office is, and has always been,

located at 7701 Forsyth, Suit 850, St. Louis, MO 63105.

         5.      On November 1, 2018, in compliance with a negotiated right thereunder, Logic

terminated a Manufacturing Support Agreement with Tecma.2 CES had no involvement in that

termination, nor any activity related to any relationship between Tecma and Logic.

         6.      On December 18, 2018, after Logic notified Tecma of termination of the

Manufacturing Support Agreement, CES, a Missouri limited liability company, was formed, with

its principal office located at 7701 Forsyth Suit, 850, St. Louis, MO 63105,3 as a wholly-owned

subsidiary of Compass Electronics Group, LLC—not CES.

         7.      CES owns no interest, nor possesses any control, right, or authority over Logic.

         8.      Logic is a Minnesota domiciled corporation, with its principal office located at




1
    See Exhibits A and B to Tecma’s Original Petition.
2
    See Exhibit A: November 1, 2018 Notice of Termination by Logic.
3
 See Exhibit B: Affidavit of Chris Gibson; Exhibit C: Articles of Organization for Compass
Electronics Solutions, LLC.
SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 2 of 9
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 121 of 155



6201 Bury Drive, Eden Prairie, MN 55346. 4 Both CES and Logic are separate and distinct

citizens of their respective states. Neither is the owner of the other, nor at any time has either

owned or possessed any ownership interest in the other.

          9.      Notwithstanding its erroneous allegations, Tecma acknowledged, accepted, and

agreed, in multiple instruments, Logic’s principal office was located in Eden Prairie, Minnesota.5

                                  SPECIAL APPEARANCE SUMMARY

          10.     This Court does not have personal jurisdiction over CES and CES has not

availed itself of the privileges inherent in conducting business within this State in any manner

creating a nexus between Tecma and/or Logic.

          11.     At all times relevant to this suit, including, but not limited to, the date of the

execution of all contractual agreements between Tecma and Logic, as well as all amendments

and supplements thereto, the date of any alleged breach of those agreements evidently giving

rise to Tecma’s causes of action in this matter, and the date of filing of this action, the following

facts were true: (i) CES was a legal entity organized and existing under the laws of the State of

Missouri; 6 (ii) the contracts made the subject of this lawsuit were executed solely by and

between Tecma and Logic, and concerned production processes and real property located in

Ciudad Juárez, Chihuahua, Mexico;7 and (iii) in no instrument, document, writing, conduct, act

or agreement does CES implement itself into the State of Texas to conduct business or obtain a

benefit from the laws of the State of Texas thereby creating any nexus with Tecma or Logic.




4
 See Preamble to Manufacturing Support Agreement, Commodatum Agreement, and First
Amendment to Manufacturing Support Agreement, all of which are attached to Tecma’s Original
Petition as Exhibits A and B.
5
    Id.
6
 See Exhibit B: Affidavit of Chris Gibson; Exhibit C: Articles of Organization for Compass
Electronics Solutions, LLC.
7
    See Exhibits A and B to Tecma’s Original Petition.
SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 3 of 9
             Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 122 of 155



Therefore, during the relevant time period, CES did not have sufficient contacts with the State of

Texas for this Court to exercise jurisdiction over it in this case, as shown in detail below.

                           PERSONAL JURISDICTION: LEGAL ANALYSIS

           12.   A Texas court may assert jurisdiction over a non-resident defendant only: (i)

where the Texas long-arm statute authorizes such exercise of jurisdiction; and (ii) where such

exercise is consistent with the due process guarantees embodied in both the Constitution of the

United States and Texas Constitution.8

           13.   The Texas Long-Arm Statute's reach is broad, limited only by the requirements of

federal due process guarantees. 9 Where the exercise of personal jurisdiction comports with

federal due process limitations the requirements of the Texas Long-Arm Statute are satisfied.10

           14.   Federal due process requires: (i) “that the non-resident have purposefully

established ‘minimum contacts’ with the foreign state; and (ii) that the exercise of jurisdiction

over the non-resident comport with traditional notions of fair play and substantial justice.”11

           15.   A non-resident only establishes minimum contacts in Texas by purposefully

availing itself of the privileges inherent in conducting business within this State. 12 Personal

jurisdiction cannot be established from a non-resident's “… random, fortuitous or attenuated

contacts with the forum … .”13 Minimum contacts with the forum state can be demonstrated

through either general or specific jurisdiction.14


8
    Schlobohm v. Shapiro, 784 S.W.2d 355, 357 (Tex. 1990).
9
    Id.
10
  Guardian Royal Exch. Assur., Ltd v. English China Clays, P.L.C., 815 S.W.2d 223, 226 (Tex.
1991).
11
     CSR Ltd. v. Link, 925 S.W.2d 591, 594 (Tex. 1996) (orig. proceeding).
12
     Id.
13
     Guardian Royal, 815 S.W.2d at 226.
14
     CSR, Ltd., 925 S.W. 2d at 595.
SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 4 of 9
               Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 123 of 155



                 THIS COURT DOES NOT HAVE GENERAL JURISDICTION OVER CES

           16.       Jurisdiction by a court may be established over a defendant under the doctrine of

general jurisdiction if the defendant's contacts with Texas are “... continuing, systematic and

substantial.”15

           17.       A plaintiff must make an extensive showing of a defendant's substantial activities

in Texas to establish general jurisdiction. 16 The non-resident defendant's contacts must be

carefully investigated and analyzed for proof of a pattern of “...continuing and systematic

activity.”17

           18.       On December 18, 2018, CES was organized under the laws of the state of

Missouri.18 From that date through the date of execution by Logic of all contractual agreements

and continuing through the date of any alleged breach of contract by Logic (the “Relevant Time

Period”), CES continued to be organized and operated under the laws of the State of Missouri,

with its principal office in that state but no continuing and systematic activity in the State of

Texas causing a nexus between CES, Tecma, and Logic.

           19.       During the Relevant Time Period, the following additional facts were true:

                   i.    CES did not maintain any principal office in the State of Texas.19

                  ii.    CES is not the successor, nor the assignee of Logic PD, Inc., nor any
                         interest, right, authority, ownership, or title thereto, nor is Logic PD, Inc. the
                         successor, nor assignee of any interest therein of CES nor any right,
                         authority, ownership, or title thereto.

                  iii.   CES has not ever owned real property in the State of Texas.


15
     Guardian Royal, 815 S.W.2d at 228; Schlobohm, 784 S.W.2d at.357.
16
     Am. Type Culture Collection, Inc. v Coleman, 83 S.W. 3d 801,807 (Tex. 2002).
17
     Id.
18
     See Exhibit C: Articles of Organization of Compass Electronics Solutions, LLC.
19
     See Exhibit B: Affidavit of Chris Gibson.

SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 5 of 9
             Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 124 of 155



                 iv.   CES did not execute any agreements, operate, conduct, or act in any
                       business capacity within the State of Texas creating a nexus between it and
                       Tecma, nor did it execute any contractual agreements with Tecma.

                 v.    CES did not purchase, obtain, control, own, operate, manage, oversee, or
                       supervise any aspect of Logic’s operation, business, functions, contracts,
                       activities, or actions in the State of Texas.20

                 vi.   CES has never created any contacts with the State of Texas or availed itself
                       of the benefits provided by this State such as to create an nexus between
                       CES, Tecma and Logic.21

           20.     To establish general jurisdiction over CES, Tecma has the burden of showing

CES has a “pattern of continuing and systematic activity” which consitute “substantial activities”

in Texas.22 CES’ contacts with the State of Texas are clearly insufficient to establish general

jurisdiction over it in this cause.23

           THIS COURT DOES NOT HAVE SPECIFIC JURISDICTION OVER CES

           21.     Specific jurisdiction is established when the plaintiff's claim against the defendant

arises from, or is related to, the defendant's activity within the forum state.24

           22.     In its pleadings, by a simple generalized blanket defined term of “Defendants,”

Tecma alleges multiple activities giving rise to a plethora of causes of action against CES

consisting of: (i) Breach of Oral or Written Contracts; (ii) Quasi Contract and Quantum Meruit;

(iii) Intentional Fraud, Misrepresentation, etc.; (iv) Negligent Misrepresenting; (v) Civil

Conspiracy; (vi) Promissory Estoppel; (vii) Joint Enterprise/Joint Venture; (viii) Successor

Liability; (ix) Piercing the Corporate Veil; and (x) Unjust Enrichment.

           23.     There was no contract, oral, written, or otherwise, between CES and Tecma, and

20
     Id.
21
     Id.
22
     Am. Type Culture Collection, Inc., 83 S.W.3d at 807.
23
     Id.
24
     See BMC Software Belgium, N.V. v. Marchand, 83 S.W.3d 789, 796 (Tex. 2002).
SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 6 of 9
             Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 125 of 155



CES does not own or control Logic. CES challenges Tecma to produce any evidence of such.

No goods or services were provided by Tecma to CES. CES challenges Tecma to establish

otherwise. There was no sale or purchase by CES of Logic and neither Logic nor CES

maintained any principal office in the State of Texas. CES challenges Tecma to establish

otherwise. There was no promise made by CES to Tecma, no representation, nor conveyance

of goods or services; therefore, CES’s conduct within the State of Texas is insufficient to confer

specific jurisdiction over it in the State of Texas, and Tecma’s unsubstantiated and unverified

statements fail to support this Court’s specific jurisdiction over CES in this matter.

          24.      It is without question, the only parties to the contract made the subject of this

lawsuit are Tecma and Logic.25 Nowhere in any instrument which would give rise to a cause of

action for Tecma is CES identified, other than in Tecma’s pleading commencing this lawsuit

based on allegations of fact which are patently false, misleading, and only intended to confuse

and complicate the Court’s understanding of factual matters in controversy in this case.

          25.      The contracts allegedly breached by Logic do not identify CES as a party or third-

party beneficiary. There is no nexus between CES and Logic, nor any nexus between Tecma’s

causes of action against CES and the State of Texas; therefore, Tecma’s claims against CES

cannot provide the basis for the assertion of specific jurisdiction over CES by this Court.26

          26.      This Court lacks personal jurisdiction over CES in this matter.

          WHEREFORE, PREMISES CONSIDERED, CES prays that its Special Appearance be

set for hearing, that notice of hearing be provided to Tecma, that after hearing this Honorable

Court grant the Special Appearance, dismiss all causes of action herein against CES for lack of

personal jurisdiction, and grant CES such other and further relief to which it may show itself

justly entitled.



25
     See Exhibits A and B to Tecma’s Original Petition.
26
     See Belgium, N.V. 83 S.W.3d at 796.
SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 7 of 9
            Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 126 of 155



                                                    Respectfully submitted,

                                                    FirthtBunntKerrtNeill
                                                    311 Montana Ave., Law Center
                                                    El Paso, Texas 79902
                                                    Telephone: 915-532-7500
                                                    Facsimile: 915-532-7503



                                                    By: _____________________________________
                                                          Edward DeV. Bunn, Jr.
                                                          State Bar No. 24048372
                                                          EBunn@FBKNlaw.com
                                                           ATTORNEYS FOR LOGIC PD, INC. AND
                                                           COMPASS ELECTRONICS SOLUTIONS, LLC

                              CERTIFICATE OF ELECTRONIC SERVICE

       I hereby certify that on this the 21st day of October 2019, a true and correct copy of the
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thereby, on all attorneys and parties identified with the Court for electronic service on record in
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        Victor F. Poulos and Andrew J. Cavazos, Poulos & Coates, L.L.P., 1802 Avenida de
        Mesilla, Las Cruces, New Mexico 88005, via email to: victor@pouloscoates.com.




                                                    _________________________________________
                                                    Edward DeV. Bunn, Jr.




SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC
Cause No. 2019DCV3781
Page 8 of 9
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 127 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 128 of 155




                                                 EXHIBIT A
              Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 129 of 155



                      IN THE DISTRICT COURT OF EL PASO COUNTY, TEXAS
                                  THE 346th JUDICIAL DISTRICT

INTEGRATED MAQUILA SOLUTIONS,                 )
L.L.C., D/B/A TECMA,                          )
                                              )
     Plaintiff,                               )
                                              )
v.                                            )   Cause No. 2019DCV3781
                                              )
COMPASS ELECTRONICS SOLUTIONS,                )
LLC, D/B/A/ LOGIC PD, COMPASS                 )
GROUP EQUITY PARTNERS, LLC, F/K/A             )
LOGIC PD, LOGIC PD, INC., and JOHN            )
HUHN,                                         )
                                              )
     Defendants.                              )

                      AFFIDAVIT OF CHRIS GIBSON IN SUPPORT OF
            SPECIAL APPEARANCE OF COMPASS ELECTRONICS SOLUTIONS, LLC

       Before me, the undersigned notary, on this day personally appeared Chris Gibson, who
being by me duly sworn on oath, stated:

      “My name is Chris Gibson, and I am at least 18 years of age, of sound mind, capable of
making this Affidavit and have personal knowledge of the facts herein stated.

        I am an Authorized Representative of Compass Electronics Solutions, LLC, a Missouri
limited liability company, whose address is 7701 Forsyth, Suit 850, St. Louis, MO 63105.

       “Compass Electronics Solutions, LLC a Missouri domiciled limited liability company,
formed on December 18, 2018, with its principal office located at 7701 Forsyth, Suit 850, St.
Louis, MO 63105.

       “At no time has Compass Electronics Solutions, LLC maintained a principal office in the
State of Texas.

        “Compass Electronics Solutions, LLC does not now own, nor has it ever owned, any
interest in Logic PD, Inc. Logic PD, Inc. does not now own, nor has it ever owned any interest in
Compass Electronics Solutions, LLC.

       “Compass Electronics Solutions, LLC is not now operating, nor has it ever operated,
under the fictitious (assumed) name of Logic PD, Inc. or Logic PD. Compass Electronics
Solutions, LLC does not now control, nor has it ever had control of, the business operations of
Logic PD, Inc.

        “Compass Electronics Solutions, LLC did not, at any time, execute, agree, negotiate, or
strike any accord with Integrated Maquila Solutions, L.L.C., d/b/a Tecma concerning any
matter.”


AFFIDAVIT OF CHRIS GIBSON

                                                                                EXHIBIT B
Cause No. 2019DCV3781
Page 1 of 2
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 130 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 131 of 155




                                                          EXHIBIT C
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 132 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 133 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 134 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 135 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 136 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 137 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 138 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 139 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 140 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 141 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 142 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 143 of 155
El Paso County - 346th District
                        CaseCourt
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Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 145 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 146 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 147 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 148 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 149 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 150 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 151 of 155
El Paso County - 346th District
                        CaseCourt
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Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 153 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 154 of 155
Case 3:19-cv-00305 Document 1 Filed 10/22/19 Page 155 of 155
